                                         UNITED STATES BANKRUPTCY COURT
                                           EASTERN DISTRICT OF MICHIGAN
                                                 SOUTHERN DIVISION


    In re: Caylor, Kevin E.                                    §     Case No. 13-44536-MAR
           Caylor, LouAnn                                      §
                                                               §
                                                               §
                                 Debtor(s)


                                              TRUSTEE'S FINAL REPORT (TFR)

           The undersigned trustee hereby makes this Final Report and states as follows:

          1. A petition under Chapter 7 of the United States Bankruptcy Code was filed on 03/08/2013. The
    undersigned trustee was appointed on 01/26/2017.
           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

           3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
    exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to 11 U.S.C. § 554.
    An individual estate property record and report showing the disposition of all property of the estate is attached
    as Exhibit A.

           4. The trustee realized the gross receipts of               $         138,634.18
                              Funds were disbursed in the following amounts:

                              Payments made under an
                               interim distribution                                     0.00
                              Administrative expenses                              61,981.12
                              Bank service fees                                         0.00
                              Other payments to creditors                               0.00
                              Non-estate funds paid to 3rd Parties                      0.00
                              Exemptions paid to the debtor                        51,798.55
                              Other payments to the debtor                               0.00
                              Leaving a balance on hand of1            $           24,854.51
    The remaining funds are available for distribution.

   1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to
   disbursement will be distributed pro rata to creditors within each priority category. The trustee may receive additional
   compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on account of the disbursement
   of the additional interest.




UST Form 101-7-TFR (5/1/2011)
          13-44536-mar         Doc 81        Filed 02/07/18     Entered 02/07/18 07:36:02             Page 1 of 11
           5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

           6. The deadline for filing non-governmental claims in this case was 09/05/2017 and the deadline for filing
    governmental claims was 07/25/2017. All claims of each class which will receive a distribution have been
    examined and any objections to the allowance of claims have been resolved. If applicable, a claims analysis,
    explaining why payment on any claim is not being made, is attached as Exhibit C.


           7. The Trustee's proposed distribution is attached as Exhibit D.
           8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $7,591.78. To
    the extent that additional interest is earned before case closing, the maximum compensation may increase.


            The trustee has received $0.00 as interim compensation and now requests the sum of $7,591.78, for a
    total compensation of $7,591.782. In addition, the trustee received reimbursement for reasonable and necessary
    expenses in the amount of $0.00 and now requests reimbursement for expenses of $0.00 for total expenses of
    $0.002.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
    and correct.




    Date: 01/31/2018                                     By: /s/ Homer McClarty
                                                                        Trustee , Bar No.: P26670




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. §1320.4(a)(2) applies.




          2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the

    amounts listed in the Trustee's Proposed Distribution (Exhibit D)



UST Form 101-7-TFR (5/1/2011)
         13-44536-mar          Doc 81       Filed 02/07/18         Entered 02/07/18 07:36:02               Page 2 of 11
                                                              Form 1
                                                                                                                                                          Exhibit A
                                          Individual Estate Property Record and Report                                                                    Page: 1

                                                           Asset Cases
Case No.: 13-44536-MAR                                                                           Trustee Name:      (420370) Homer McClarty
Case Name:    Caylor, Kevin E.                                                                   Date Filed (f) or Converted (c): 03/08/2013 (f)
              Caylor, LouAnn
                                                                                                 § 341(a) Meeting Date:       05/17/2013
For Period Ending:        01/31/2018                                                             Claims Bar Date:      09/05/2017

                                      1                                  2                      3                      4                   5                   6

                           Asset Description                          Petition/         Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)            Unscheduled        (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                       Values                 Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                      Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                                 and Other Costs)

    1       Personal Injury Settlement (u)                            137,468.10                    19,000.00                           138,634.18                          FA
            Amendment filed 4/11/17 [docket no. 52] adding asset
            and exemption
            Amendment filed 4/6/17 [docket no. 48] adding asset
            and exemption (deficiency issued)
            Amendment filed 3/28/17 [docket no. 36] adding asset
            and exemption (stricken)

    2       House - 24664 Oriole, Taylor, MI 48180                     65,000.00                         0.00                                   0.00                        FA

    3       Cash - approx. (H)                                                20.00                      0.00                                   0.00                        FA

    4       Cash - approx. (W)                                                30.00                      0.00                                   0.00                        FA

    5       Rivers Edge Credit Union - approx                            1,500.00                        0.00                                   0.00                        FA

    6       Lake Trust Credit Union - approx.                                100.00                      0.00                                   0.00                        FA

    7       Household goods                                              8,000.00                        0.00                                   0.00                        FA

    8       Misc. books, pictures, etc.                                      400.00                      0.00                                   0.00                        FA

    9       Personal/apparel (H)                                             250.00                      0.00                                   0.00                        FA

   10       Personal/Apparel (W)                                             250.00                      0.00                                   0.00                        FA

   11       Jewelry                                                          100.00                      0.00                                   0.00                        FA

   12       Jewelry                                                      1,000.00                        0.00                                   0.00                        FA

   13       Camera & sports equipment                                        200.00                      0.00                                   0.00                        FA

   14       Term insurance (H)                                                 0.00                      0.00                                   0.00                        FA

   15       Term insurance (W)                                                 0.00                      0.00                                   0.00                        FA

   16       401k, approx. (H)                                            6,661.44                        0.00                                   0.00                        FA

   17       401k, approx. (W)                                          10,541.77                         0.00                                   0.00                        FA

   18       Est. 2013 tax refund                                        Unknown                          0.00                                   0.00                        FA

   19       2011 Ford Explorer - lease                                         0.00                      0.00                                   0.00                        FA

   20       2008 Chevy Impala                                            8,600.00                        0.00                                   0.00                        FA

   21       1981 Chevrolet Impala                                      10,000.00                         0.00                                   0.00                        FA

   22       2 cats                                                             0.00                      0.00                                   0.00                        FA

   22       Assets Totals (Excluding unknown values)                 $250,121.31                 $19,000.00                           $138,634.18                     $0.00




                  13-44536-mar                    Doc 81           Filed 02/07/18            Entered 02/07/18 07:36:02                         Page 3 of 11
UST Form 101-7-TFR (5/1/2011)
                                                      Form 1
                                                                                                                                  Exhibit A
                                  Individual Estate Property Record and Report                                                    Page: 2

                                                   Asset Cases
Case No.: 13-44536-MAR                                                        Trustee Name:      (420370) Homer McClarty
Case Name:    Caylor, Kevin E.                                                Date Filed (f) or Converted (c): 03/08/2013 (f)
              Caylor, LouAnn
                                                                              § 341(a) Meeting Date:    05/17/2013
For Period Ending:   01/31/2018                                               Claims Bar Date:     09/05/2017



 Major Activities Affecting Case Closing:

                           01/26/17 Estimated gross settlement award (before fees and expenses) is $137,468.10


 Current Projected Date Of Final Report (TFR):   01/31/2018 (Actual)   Initial Projected Date Of Final Report (TFR): 01/31/2018




               13-44536-mar            Doc 81        Filed 02/07/18       Entered 02/07/18 07:36:02                  Page 4 of 11
UST Form 101-7-TFR (5/1/2011)
                                                              Form 2                                                                                     Exhibit B
                                                                                                                                                         Page: 1
                                              Cash Receipts And Disbursements Record
Case No.:                 13-44536-MAR                                       Trustee Name:                      Homer McClarty (420370)
                          Caylor, Kevin E.
Case Name:                                                                   Bank Name:                         Rabobank, N.A.
                          Caylor, LouAnn
                                                                             Account #:                         ******4100 Checking
Taxpayer ID #:            **-***8385
                                                                             Blanket Bond (per case limit): $2,000,000.00
For Period Ending: 01/31/2018
                                                                             Separate Bond (if applicable): N/A

    1             2                       3                                         4                                5                      6                      7

  Trans.       Check or       Paid To / Received From           Description of Transaction          Uniform       Deposit             Disbursement        Account Balance
   Date         Ref. #                                                                             Tran. Code       $                       $

 01/04/18                 Boston Scientific QSFII Freese &   Net proceeds of personal injury                         76,653.06                                         76,653.06
                          Goss                               settlement per court order entered
                                                             10/27/17 [docket no. 69]

                 {1}      Boston Scientific QSFII Freese &   Gross personal injury settlement      1242-000                                                            76,653.06
                          Goss                               per court order entered 10/27/17
                                                             [docket no. 69]

                                                                                  $138,634.18

                          Garretson Resolution Group         Settlement administration and lien    2990-000                                                            76,653.06
                                                             resolution services per court order
                                                             entered 10/27/17 [docket no. 69]

                                                                                        -$707.76

                          Freese & Goss, PLLC                Special Counsel for Trustee fees      3210-600                                                            76,653.06
                                                             per court order entered 10/27/17
                                                             [docket no. 69]

                                                                                   -$52,682.52

                          Freese & Goss, PLLC                Special Counsel for Trustee           3220-610                                                            76,653.06
                                                             expenses per court order entered
                                                             10/27/17 [docket no. 69]

                                                                                    -$1,662.96

                          MDL Assessment                     MDL Fee Assessment 5% per             2990-000                                                            76,653.06
                                                             court order entered 10/27/17
                                                             [docket no. 69]

                                                                                    -$6,927.88

 01/29/18        101      Louann Caylor                      11 U.S.C. §§ 522 (d)(5) and           8100-002                                ! 32,270.00                 44,383.06
                                                             522(d)(11)(D) exemptions per
                                                             court order entered 10/27/17
                                                             [docket no. 69]

 01/29/18        102      Louann Caylor                      11 U.S.C. § 522(d)(11)(E)             8100-002                                ! 19,528.55                 24,854.51
                                                             exemption per court order entered
                                                             10/27/17 [docket no. 69]

                                              COLUMN TOTALS                                                          76,653.06               51,798.55                 $24,854.51
                                                    Less: Bank Transfers/CDs                                                0.00                  0.00
                                              Subtotal                                                               76,653.06               51,798.55
        true
                                                    Less: Payments to Debtors                                                                51,798.55

                                              NET Receipts / Disbursements                                          $76,653.06                   $0.00




                                                                                                                                                           false
                       13-44536-mar              Doc 81        Filed 02/07/18                Entered 02/07/18 07:36:02                      Page 5 of 11
{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                        ! - transaction has not been cleared
                                                     Form 2                                                                Exhibit B
                                                                                                                           Page: 2
                                     Cash Receipts And Disbursements Record
Case No.:         13-44536-MAR                              Trustee Name:                  Homer McClarty (420370)
                  Caylor, Kevin E.
Case Name:                                                  Bank Name:                     Rabobank, N.A.
                  Caylor, LouAnn
                                                            Account #:                     ******4100 Checking
Taxpayer ID #:    **-***8385
                                                            Blanket Bond (per case limit): $2,000,000.00
For Period Ending: 01/31/2018
                                                            Separate Bond (if applicable): N/A




                                                                                               NET                    ACCOUNT
                               TOTAL - ALL ACCOUNTS                      NET DEPOSITS     DISBURSEMENTS               BALANCES
                               ******4100 Checking                             $76,653.06            $0.00                $24,854.51

                                                                              $76,653.06                    $0.00          $24,854.51




                 13-44536-mar           Doc 81       Filed 02/07/18       Entered 02/07/18 07:36:02                 Page 6 of 11
UST Form 101-7-TFR (5/1/2011)
Printed:    01/31/2018 1:17 PM                                                                                                                              Page: 1
                                                                                         Exhibit C
                                                                                      Claims Register



                                                        Case: 13-44536-MAR KEVIN E. CAYLOR AND LOUANN CAYLOR

                                                                                                                                       Claims Bar Date:    9/5/17 12:00


                                                                                                                                                Paid           Claim
      Claim #         Claimant Name                                     Claim Type            Acct#/ Memo/Journal   Amount Allowed            to Date         Balance

           FEE         Homer McClarty                                   Admin Ch. 7                                       $ 7,591.78               $0.00        $7,591.78
                       19785 West Twelve Mile Road
                       #331
                       Southfield, MI 48076

                       Freese & Goss, PLLC                              Admin Ch. 7                                      $ 52,682.52          $52,682.52              $0.00




                       Freese & Goss, PLLC                              Admin Ch. 7                                       $ 1,662.96           $1,662.96              $0.00




                       Steinberg Shapiro & Clark                        Admin Ch. 7                                       $ 2,530.00               $0.00        $2,530.00
                       25925 Telegraph Road
                       Suite 203
                       Southfield, MI 48033

            1          Discover Bank Discover Products Inc              Unsecured                                         $ 4,773.98               $0.00        $4,773.98
                       PO Box 3025
                       New Albany, OH 43054-3025


            2          Dell Financial Services, LLC Resurgent Capital   Unsecured                                         $ 1,052.33               $0.00        $1,052.33
                       Services
                       PO Box 10390
                       Greenville, SC 29603-0390

                                      13-44536-mar           Doc 81     Filed 02/07/18      Entered 02/07/18 07:36:02   Page 7 of 11
Printed:   01/31/2018 1:17 PM                                                                                                                        Page: 2
                                                                                  Exhibit C
                                                                               Claims Register


           3          Capital One, N.A.                            Unsecured                                               $ 2,610.37        $0.00      $2,610.37
                      PO Box 71083
                      Charlotte, NC 28272-1083                                         NFTP - only paying Louann Caylor's creditors

           4          Capital One, N.A. c/o Becket and Lee LLP     Unsecured                                                 $ 322.82        $0.00        $322.82
                      PO Box 3001
                      Malvern, PA 19355-0701


           5          Lake Trust Credit Union                      Unsecured                                              $ 15,893.89        $0.00     $15,893.89
                      4605 S. US Hwy. 23
                      Brighton, MI 48114


           6          WORLD'S FOREMOST BANK CABELA'S               Unsecured                                               $ 1,019.33        $0.00      $1,019.33
                      CLUB VISA
                      PO BOX 82609
                      LINCOLN, NE 68501-2609


                                                                                                                          Case Total:   $54,345.48     $35,794.50




                                     13-44536-mar         Doc 81   Filed 02/07/18    Entered 02/07/18 07:36:02          Page 8 of 11
                                    TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                               Exhibit D


    Case No.: 13-44536-MAR
    Case Name: KEVIN E. CAYLOR AND LOUANN CAYLOR
    Trustee Name: Homer McClarty

                                                      Balance on hand:       $                             24,854.51

           Claims of secured creditors will be paid as follows:

  Claim      Claimant                                          Claim       Allowed            Interim         Proposed
  No.                                                       Asserted       Amount           Payments           Payment
                                                                           of Claim           to Date


                                                          None


                                                   Total to be paid to secured creditors:       $                   0.00
                                                   Remaining balance:                           $              24,854.51

           Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                           Total            Interim         Proposed
                                                                         Requested          Payments           Payment
                                                                                              to Date

  Trustee, Fees - Homer McClarty                                            7,591.78                0.00        7,591.78
  Attorney for Trustee Fees (Other Firm) - Steinberg Shapiro & Clark        2,530.00                0.00        2,530.00
  Special Counsel for Trustee Fees - Freese & Goss, PLLC                   52,682.52        52,682.52                 0.00
  Special Counsel for Trustee Expenses - Freese & Goss, PLLC                1,662.96         1,662.96                 0.00
                        Total to be paid for chapter 7 administrative expenses:                 $              10,121.78
                        Remaining balance:                                                      $              14,732.73

           Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                     Total           Interim             Proposed
                                                                       Requested       Payments            Payment

                                                          None


                      Total to be paid for prior chapter administrative expenses:               $                   0.00
                      Remaining balance:                                                        $              14,732.73




UST Form 101-7-TFR(5/1/2011)




    13-44536-mar           Doc 81     Filed 02/07/18         Entered 02/07/18 07:36:02              Page 9 of 11
              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.

             Allowed priority claims are:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

                                                          None


                                                      Total to be paid for priority claims:      $              0.00
                                                      Remaining balance:                         $         14,732.73

             The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
             Timely claims of general (unsecured) creditors totaling $25,672.72 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 57.4 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

  1           Discover Bank Discover Products                4,773.98                     0.00              3,049.73
              Inc
  2           Dell Financial Services, LLC                   1,052.33                     0.00                672.25
              Resurgent Capital Services
  3           Capital One, N.A.                              2,610.37                     0.00                   0.00
  4           Capital One, N.A. c/o Becket and                   322.82                   0.00                206.22
              Lee LLP
  5           Lake Trust Credit Union                       15,893.89                     0.00             10,153.36
  6           WORLD'S FOREMOST BANK                          1,019.33                     0.00                651.17
              CABELA'S CLUB VISA
                          Total to be paid for timely general unsecured claims:                  $         14,732.73
                          Remaining balance:                                                     $              0.00

             Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
      paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
      have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
      applicable).
             Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

                                                          None


                          Total to be paid for tardily filed general unsecured claims:           $               0.00
                          Remaining balance:                                                     $               0.00



UST Form 101-7-TFR(5/1/2011)




      13-44536-mar        Doc 81        Filed 02/07/18     Entered 02/07/18 07:36:02             Page 10 of 11
          Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
    subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
    allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
    subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
          Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
    subordinated by the Court are as follows:
  Claim     Claimant                             Allowed Amount        Interim Payments               Proposed
  No.                                                   of Claim                 to Date               Payment

                                                      None


                                                Total to be paid for subordinated claims: $                    0.00
                                                Remaining balance:                        $                    0.00




UST Form 101-7-TFR(5/1/2011)




   13-44536-mar        Doc 81      Filed 02/07/18       Entered 02/07/18 07:36:02           Page 11 of 11
